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        Exhibit 2
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    APPLICATIONNO.            FILINGDATE        FIRSTNAMEDINVENTOR       ATTORNEYDOCKETNO.              CONFIRMATIONNO.

       09/904,270             07/12/2001         Peter Henrik Pedersen          PHP-168                         2027

       24119           7590         0211onoos                                                EXAMINER

       SHERMAN D PERNIA, ESQ., PC                                                         CHANG,JUNGWON
       1110 NASA ROAD ONE
                                                                               ART UNIT                   PAPERNUMBER
       SUITE450
       HOUSTON, TX 77058-3310                                                     2154

                                                                         DATE MAILED: 02/10/2005




Please find below and/or attached an Office communication concerning this application or proceeding.




PT0-90C (Rev. 10/03)
                          Case 6:22-cv-00408-ADA Document 6-3 Filed 09/26/22 Page 3 of 27
                                                                                   Application No.                               Applicant(s)

                                                                                    09/904,270                                    PEDERSEN, PETER HENRIK
                    Office Action Summary                                          Examiner                                      Art Unit

                                                                                   Jungwon Chang                                 2154
               -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
  Period for Reply                                                                                         •
       A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE J MONTH{S) FROM
       THE MAILING DATE OF THIS COMMUNICATION.
       - Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
         after SIX (6) MONTHS from the mailing date of this communication.
       - If the period for reply specified above is less than thirty (30) days, a reply within the statutory minimum of thirty (30) days will be considered timely.
       - If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
       - Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
         Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
         earned patent term adjustment. See 37 CFR 1.704(b).

  Status

       1)[8] Responsive to communication(s) filed on 11 April 2002.
      2a)O This action is FINAL.               2b)[8] This action is·non-final.
       3)0      Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

  Disposition of Claims

       4)[8] Claim(s) 1-23 is/are pending in the application.
               4a) Of the above claim(s) __                  is/are withdrawn from consideration.
       5)0      Claim(s) __           is/are allowed.
       6)[8] Claim(s) 1-23 is/are rejected.
       7)0      Claim(s) __           is/are objected to.
       8)0      Claim(s) __           are subject to restriction and/or election requirement.

  Application Papers

        9)0 The specification is objected to by the Examiner.
      10)0 The drawing(s) filed on __                     is/are: a)O accepted or b)O objected to by the Examiner.
                Applicant may not request that any objectionto the drawing(s)be held in abeyance. See 37 CFR 1.85(a).
                Replacementdrawing sheet(s) includingthe correctionis required if the drawing(s) is objected to. See 37 CFR 1.121(d).
      11) □ The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PTO-152.

  Priority under 35 U.S.C. § 119
      12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-{d) or (f).
            a)O All       b)O Some* c)O None of:
                1.0      Certified copies of the priority documents have been received.
                2.0      Certified copies of the priority documents have been received in Application No. __      .
                3.0      Copies of the certified copies of the priority documents have been received in this National Stage
                         application from the International Bureau (PCT Rule 17.2(a)).
            *Seethe attached detailed Office action for a list of the certified copies not received.




  Attachment(s)
                           Cited(PT0-892)
  1) [8] Noticeof References                                                                      4) 0 InterviewSummary(PT0-413)
  2) 0 Noticeof Draftsperson'sPatentDrawingReview(PT0-948)                                             PaperNo(s)/MailDate.__ .
                                       (PT0-1449or PTO/SB/08)
                            Statement(s)
                   Disclosure
  3) [8] Information                                                                                                                    (PT0-152)
                                                                                                  5) 0 Noticeof InformalPatentApplication
         PaperNo(s)/MailDate7112101.                                                              6) 0 Other:__ .
U.S. Patentand TrademarkOffice
       (~ev. 1-04)
PTOL-326                                                              Office Action Summary                                  Partof PaperNo./MailDate20020411
       Case 6:22-cv-00408-ADA Document 6-3 Filed 09/26/22 Page 4 of 27


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Art Unit: 2154

                                          DETAILED ACTION



1.     Claims 21-23 are added in the preliminary amendment filed on 4/11/02. Claims

1-23 are presented for examination.



2.     It is noted that although the present application contains line numbers in claims,

the line numbers in the claims do not correspond to the preferred format. The preferred

format is to number each line of every claim with each claim beginning with line 1. For

ease of reference by both the examiner and applicant all future correspondence should

include the recommended line numbering.



3.     One cited reference in information disclosure statement (IDS) dated on July 12,

2001 is incorrect (i.e., 5,76J,033, Miloslavsky should be 5,76§,033). Examiner has

corrected it and considered the information disclosure statement.




                                 Claim Rejections - 35 USC § 112

4.     The following is a quotation of the second paragraph of 35 U.S.C. 112:

       The specification shall conclude with one or more claims particularly pointing out and distinctly
       claiming the subject matter which the applicant regards as his invention.

5.     Claims 5 and 6 are rejected under 35 U.S.C. 112, second paragraph, as being

indefinite for failing to particularly point out and distinctly claim the subject matter which

applicant regards as the invention.
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       a.       The claim language in the following claims is not clearly understood:

       i.      As to claims 5 and 6, line 4, it is uncertain whether "the global

       communications network" refers to "a global network" line 2 or "a global digital

       communications network" in claim 1, lines 2-3;




                                 Claim Rejections - 35 USC§ 102

6.     The following is a ·quotation of the appropriate paragraphs of 35 U.S.C. 102 that

form the basis for the rejections under this section made in this Office action:

       A person shall be entitled to a patent unless -

       (e) the invention was described in (1) an application for patent, published under section 122(b), by
       another filed in the United States before the invention by the applicant for patent or (2) a patent
       granted on an application for patent by another filed in the United States before the invention by the
       applicant for patent, except that an international application filed under the treaty defined in section
       351 (a) shall have the effects for purposes of this subsection of an application filed in the United States
       only if the international application designated the United States and was published under Article 21 (2)
       of such treaty in the English l~nguage.


7.     Claim 1 is rejected under 35 U.S.C. 102(e) as being anticipated by Kamakura et

al. (US 6,047,310), hereinafter referred to as Kamakura.



8.     As to claim 1, Kamakura discloses an electronic message management system

(11, fig. 3; col. 1, lines 8-12) comprising:

       an electronic computer system (receiver terminal, 13, fig. 2; sender terminal, 14,

fig. 2; distribution host computer; 11, fig. 2) in operative communication with a global

digital communications network (network, 12, fig. 2) (col. 5, lines 53-64 ); and

       an electronic message management database (relational database; col. 12, lines
        Case 6:22-cv-00408-ADA Document 6-3 Filed 09/26/22 Page 6 of 27


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61-65; col. 1, lines 51-58; col. 6, lines 5-13 and 16-25) in operative communication with

the computer system (figs. 4, 5; col. 6, lines 41-55; col. 7, lines 13-25).



                                 Claim Rejections - 35 USC § 103

9.     The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the invention is not identically disclosed or described as set
       forth in section 102 of this title, if the differences between the subject matter sought to be patented and
       the prior art are such that the subject matter as a whole would have been obvious at the time the
       invention was made to a person having ordinary skill in the art to which said subject matter pertains.
       Patentability shall not be negatived by the manner in which the invention was made.

10.    Claims 2-23 are rejected under 35 U.S.C. 103(a) as being unpatentable over
                                                                 /


Kamakura et al. (US 6,047,310), in view of Capps (US 6,711,682).



11. • As to claim 2, Kamakura discloses wherein the electronic computer system

further comprises:

       a recipient profile (22, 24, fig. 3; fig. 8; fig. 11) for receiving recipient profile data

(receiver attributes; age, sex, occupation; col. 2, lines 8-13; col. 4, lines 53-54) from

recipients (receiver terminal, 13, fig. 2) via the global network (network, 12, fig. 2) (fig. 4;

fig. 9; col. 1, lines 61-65; col. 2, lines 63-67; col. 6, lines 41-55; col. 8, lines 28-48; col.

10, lines 14-18) and storing the recipient data (fig. 11; storing medium; storing unit; col.

1, lines 51-58; col. 6, lines 16-25; col. 8, lines 36-48; col. 10, lines 18-38; relational

database; col. 12, lines 61-65);

       a messenger profile (sender profile, 32, fig. 3) for receiving messenger profile

data (sender profile data;· fig. ·13)from messenger (sender terminal, 14, fig. 2) via the
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 Art Unit: 2154

 global network (network, 12, fig. 2) (register sender profile; S11, fig. 5; col. 11, lines 45- •

 58) and storing the messenger data (fig. 17; storing medium; storing unit; col. 1, lines

 51-58; col. 6, lines 16-25; col. 11, line 59 - col. 12, line 4; col. 13, line 64 - col. 14, line

 9; relational database; col. 12, lines 61-65);

        a message input (26, fig. 3) for receiving message files (advertisement

 documents) from a messenger (sender terminal, 14, fig. 2) via the global network

 (network, 12, fig. 2) (S12, fig. 5; col. 7, lines 16-25) and storing the message files

• (transmission advertisement document number; fig. 13; col. 6, lines 16-25; col. 13, lines

 51-63; relational database; col. 12, lines 61-65); and

        an individual message generator (23, fig. 3) in communication with the database

 (sends an inquiry composed of retrieval expressions to the database; col. 12, lines 61-

 65) and operative to access and utilize data and files from the database to generate an

 individual message to be sent via the global communications network to a recipient

 specified by a messenger (col. 7, lines 40-65; col. 12, lines 39-65).



 12.    Kamakura discloses a recipient sends (fig. 4; fig. 9; col. 6, lines 41-55; col. 8,

 lines 28-48; col. 10, lines 14-18) and stores recipient profile data (storing medium;

 storing unit; col. 1, lines 51-58; col. 6, lines 16-25; col. 8, lines 36-48; col. 10, lines 18-

 38; relational database; col. 12, lines 61-65); messenger transmits (register sender

 profile; S11, fig. 5; col. 11, lines 45-58) and stores messenger profile data (fig. 17;

 storing medium; storing unit; col. 1, lines 51-58; col. 6, lines 16-25; col. 11, line 59 - col.

 12, line 4; col. 13, line 64 - col. 14, line 9; relational database; col. 12, lines 61-65); and
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message input sends (S12, fig. 5; col. 7, lines 16-25) and stores message file (col. 6,

lines 16-25; col. 13, lines 51-63; relational database; col. 12, lines 61-65). However,

Kamakura does not specifically use a word "application". Capps discloses applications

(114, fig. 1; registration wizard; col. 1, lines 25-41; col. 3, lines.8-11 and 28-30;

computer-executable instructions; col. 4, lines 10-24). It would have been obvious to

one of ordinary skill in the art at the time the invention was made to combine the

teachings of Kamakura and Capps because Capps's application would improve the

performance of Kamakura's system by allowing the system to provide computer

instructions to execute the tasks, thereby improving the performance of fast data

transfer between the client and server.



Kamakura discloses information is stored in a relational database and retrieved from the

database (relational database; col. 12, lines 61-65). However, Kamakura does not

specifically disclose storing data in the database. Capps discloses storing data in the

database (data source; 118, 122; fig. 1; col. 3, lines 15-17 and 31-34; col. 8, lines 46-

62). It would have been obvious to one of ordinary skill in the art at the time the

invention was made to combine the teachings of Kamakura and Capps because Capps'

storing data in database would improve speed of search by allowing the user to flexibly

and easily search and inquire by writing simple queries.



13.    As to claim 3, Kamakura does not specifically disclose message management

server operating system. However, Capps discloses message management server
        Case 6:22-cv-00408-ADA Document 6-3 Filed 09/26/22 Page 9 of 27


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operating system (112, fig. 1; col. 3, lines 11-14). It would have been obvious to one of

ordinary skill in the art at the time the invention was made to combine the teachings of

Kamakura and Capps because Capps's operating system would improve the

performance of Kamakura's system by quickly supporting the application.



14.    As to claim 4, it is rejected for the same reasons set forth in claim 2 above.

Kamakura discloses wherein the message management database (relational database;

col. 12, lines 61-65; col. 1, lines 51-58; col. 6, lines 5-13 and 16-25) further comprises

recipient and messenger profile storages for storing recipient (storing medium; storing

unit; col. 1, lines 51-58; col. 6, lines 16-25; col. 8, lines 36-48; col. 10, lines 18-38) and

messenger profile data (storing medium; storing unit; col. 1, lines 51-58; col. 6, lines 16-

25; col. 11, line 59 - col. 12, line 4) respectively, and a message storage for storing

message data files (col. 6, lines 16-25; col. 13, lines 51-63).



15.    As to claim 5, it is rejected for the same reasons set forth in claim 2 above. In

addition, Kamakura discloses a global network (12, fig. 2) interactive recipient profile

input form (fig. 8), the recipient profile input form being accessible to a recipient

computer via global communications network (S20, S22, fig. 9; S30, S31, S36, fig. 10;

fig. 12; col. 6, lines 41-55; col. 8, line 67 - col. 9, line 7; col. 9, lines 31-41 and 65-67).



16.    As to claim 6, it is rejected for the same reasons set forth in claim 2 above.·In

addition, Kamakura discloses a global network interactive messenger profile input form
       Case 6:22-cv-00408-ADA Document 6-3 Filed 09/26/22 Page 10 of 27


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(fig. 13; fig. 17), the messenger profile input form being accessible to a messenger

computer via the global communications network (fig. 14; col. 7, lines 13-25; col. 12,

lines 39-55; col. 13, line 64 - col. 14, line 9).



17.    As to claim 7, it is rejected for the same reasons set forth in claim 2 above. ·In

addition, Kamakura discloses message input form being accessible to a messenger

computer via a global communications network (26, fig. 3; register transmission

advertisement document; S12, fig. 5; transmission advertisement document number, fig.

13; col. 7, lines 13-25).



18.    As to claims 8-10, it is rejected for the same reasons set forth in claim 2 above.

In addition, Kamakura discloses a network interface (network interface card connects a

terminal to network; fig. 2; col. 5, lines 53-64) and editor for manipulating the recipient

profile, sender profile, and message (col. 16, lines 51-61; col. 18, lines 64-67).



19.    As to claim 11, it is rejected for the same reasons set forth in claim 1 above. In

addition, discloses a method of inputting data into a message management system (11,

figs. 2-3) from client computers (receiver terminal, 13, fig. 2; sender terminal, 14, fig. 2)

via a global communication network (network, 12, fig. 2), to centrally manage the

distribution (col. 4, lines 35-57) and delivery format of electronic message from multiple

messenger sources to multiple individual recipients (col. 5, lines 16-20), comprising the

steps of:
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       providing the client computers (receiver terminal, 13, fig. 2; sender terminal, 14,

fig. 2) with access to the message management system via a global communications

network, where the client computers are messenger (sender terminal, 14, fig. 2) and

recipient computers (receiver terminal, 13, fig. 2) (col. 5, lines 53-64 );

       connecting the client computer to the message management system via the

global communication network (fig. 2; fig. 3; col. 5, lines 53-64 );

       prompting the client computer for the data to be input by providing a data input

form to the client computer (col. 4, lines 35-57; col. 6, lines 41-55; col. 7, lines 13-25);

and

       accepting input data from the client computer (S20, fig. 9; S30, fig. 10; fig. 12)

and entering the input data (fig. 11; fig. 13; col. 6, lines 45-55; col. 10, lines 18-38).



20.    Kamakura does not specifically disclose receiving a connectivity request from a

client computer for access to the message management system to input data. However,

Capps disclose receiving a connectivity request from a client computer for access to the

message management system to input data (col. 3, lines 21-30). It would have been

obvious to one of ordinary skill in the art at the time the invention was made to combine

the teachings of Kamakura and Capps because Capps's connectivity request would

improve the communication performance between client and system by allowing the

client to set up a communication link every time as needed.



Kamakura discloses information is stored in a relational database and retrieved from the
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database (relational database; col. 12, lines 61-65). However, Kamakura does not

specifically disclose storing data in the database. Capps discloses storing data in the

database (data source; 118, 122; fig. 1; col. 3, lines 15-17 and 31-34; col. 8, lines 46-

62). It would have been obvious to one of ordinary skill in the art at the time the

invention was made to combine the teachings of Kamakura and Capps because Capps'

storing data in database would improve speed of search by allowing the user to flexibly

and easily search and inquire by writing simple queries.



21.    As to claim 12, Kamakura discloses wherein the prompting step includes

providing an input form (fig. 8; fig. 13) to the client computer (13, 14, fig. 2) (col. 6, lines

41-55; col. 7, lines 13-25).



22.    As to claim 13, Kamakura discloses a recipient profile form (fig. 8), a messenger

profile form (fig. 13; fig. 17), and a message input form (26, fig. 3; register transmission

advertisement document; S12, fig. 5; transmission advertisement document number, fig.

13; col. 7, lines 13-25).



23.    As to claim 14, it is rejected for the same reasons set forth in claim 11. In

addition, Kamakura discloses a recipient profile storage (storing medium; storing unit;

col. 1, lines 51-58; col. 6, lines 16-25; col. 8, lines 36-48; col. 10, lines 18-38; relational

database; col. 12, lines 61-65), a messenger profile storage (fig. 17; storing medium;

storing unit; col. 1, lines 51-58; col. 6, lines 16-25; col. 11, line 59 - col. 12, line 4; col.
       Case 6:22-cv-00408-ADA Document 6-3 Filed 09/26/22 Page 13 of 27


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13, line 64- col. 14, line 9; relational database; col. 12, lines 61-65), and a message

storage (col. 6, lines 16-25; col. 13, lines 51-63; relational database; col. 12, lines 61-

65).



24.    -As to claim 15, it is rejected for the same reasons set forth in claim 2 above. In

addition, Kamakura discloses receiving and storing a plurality of messenger specific

profiles (sender profile; fig. 13) indicating delivery parameters for where, when and how

specific type of messages from each messenger must be delivered to a recipient

(distributing the profile of the sender along with advertisement information to the

receiver; col. 2, lines 48-54 ).
                                                        I



25.    As to claim 16, it is rejected for the same reasons set forth in claim 2 above. In

addition, Kamakura discloses receiving and storing messenger profile data, including

messenger identifying data (26, fig. 3; register transmission advertisement document;

S 12, fig. 5; transmission advertisement document number, fig. 13; col. 7, lines 13-25).



26.    As to claim 17, it is rejected for the same reasons set forth in claim 2 above. In

addition, Kamakura discloses recipient identifications (receiver ID; fig. 11) and recipient

profile, which messages to deliver to the recipients and profiles stored (col. 1, lines 61-

65; col. 2, lines 63-67; col. 6, lines 41-55; col. 8, lines 28-48; col. 10, lines 14-18).



27.    As to claim 18, it is rejected for the same reasons set forth in claim 2 above. In
       Case 6:22-cv-00408-ADA Document 6-3 Filed 09/26/22 Page 14 of 27


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addition, Kamakura discloses recipient identifications (receiver ID; fig. 11) and recipient

profiles who are prevented from receiving a message from the messenger (reception

restriction; fig. 11; col. 2, lines 63-67; col. 10, line 39 - col. 11, line 6).



28.    As to claim 19, it is rejected for the same reasons set forth in claim 2. In addition,

Kamakura discloses wherein the individual message generator communicates with the

database (sends an inquiry composed of retrieval expressions to the database; col. 12,

lines 61-65) to identify messages and messenger parameters that are compatible with a

recipient profile, and to configure the messages for delivery to the recipient (select a

sender of information that satisfies the desired conditions of the receivers; col. 2, lines

3-16 and 25-27; col. 4, lines 44-48; col. 17, lines 27-33).



29.    As to claims 20-23, Kamakura discloses wherein the individual message

generator generates and sends the individual message via a means selected from the

group consisting of: electronic mail, voice telephone, facsimile transmission, and digital

transmission (col. 1, lines 8-12).



                                           Conclusion



30.    The prior art made of record and not relied upon is considered pertinent to

applicant's disclosure:

Smith et al, patent 6,463,462, Herz et al, patent 6,571,279, Cook, patent 6,732,101,
       Case 6:22-cv-00408-ADA Document 6-3 Filed 09/26/22 Page 15 of 27


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Schiavone et al, 2002/0120692, Owens et al, 2005/0002503, Owens et al, patent

6,023,700 disclose a method and system for distributing electronic messages based

upon delivery preference of recipient.



31.   Any inquiry concerning this communication or earlier communications from the

examiner should be directed to Jungwon Chang whose telephone number is 571-272-

3960. The examiner can normally be reached on 9:30-6:00 (Monday-Friday).

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, John A Follansbee can be reached on 571-272-3964. The fax phone

number for the organization where this application or proceeding is assigned is 703-

872-9306.

      Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free).

~ ~werv
JWC
February 3, 2005
               Case 6:22-cv-00408-ADA Document 6-3 Filed 09/26/22 Page 16 of 27

27-MAY-2005 19:02 FROM:MOETTELIET ASSOCIES 0041712301001                              TO:USPTD                      P,3,.16


         Docket NO. PHP-168


                 IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

          Serial No.:     09/904,270                                   §                                           RECEIVED
                                                                       §                                       CEHTRAL
                                                                                                                    FAXCENTEA.
          Applicant:      Pedersen, P.H.                               §
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          Filing Date: 12 July 2001                                    §
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          Art Unit:       2154                                         §
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          Examiner:       Chang,J.                                     §
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          Docket No.: PHP-168                                          §
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                                            703-872-9306

          Attn: Examiner Chang
          Commissioner for Patents
          P.O. Box 1450
          Alexandria, VA 22313-1450


                  OFFICIAL REPLY AND AMENDMENT UNDER 37 CFR § 1.111

          Dear Examiner Chang:
                 Responsive to the Office Action mailed 10 February 2005, Applicant respectfully
          requests reconsideration        of the above-referenced          application in view of the following
          amendments and remarks. A Request for Extension of Time under 37 CFR § 1. l 36(a) and
         fee payment accompany this Reply.
                 Amendments        to   the claims are reflected in the listing of c1airns which begins on
         page 2 of this paper; and Applicant's remarks begin on page 7.


                                        Cerdftcate of Transmission Under 37CFR 01.08

                 I.       Shennan D. Pemia          • hereby certify that this correspondence is being facsimile
                 transmitted to the United States Patent and Trademark Office on the date below.


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                                                                       (mm-ss):06-10
                 Case 6:22-cv-00408-ADA Document 6-3 Filed 09/26/22 Page 17 of 27
27-MAY-2005     19:02     FROM:MOETTELI ET ASSDCIES 0041712301001                 TO:USPTD


              Docket NO. PHP-168


                                                      AMENDMENTS


              In the Claims
                    • The following listing of claims replaces all prior versions of the claims in the
              application:
              1 (currently amended).        An electronic message management system comprising:
                        an electronic computer system in operative communication with a global digital
                        communications     network([;]] ...and an electronjc message management database
                        in operative communication with the computer system; the electronic: computer
                        system having
                                        a recipient profiJe application for receiving recipient profile data
                               from recipients via the global network and storing the recipient data in the
                               database, the profile data including deliyezy parameters specified by a
                               recipient of where. when and how specific types of messages from specific
                               messengers are delivered to the recipient,
                                        a messenger profile application for receiving messenger profile data
                               from messengers via the global network and storing the messenger data in
                               the database. including messenger identifying data,
                               a message input application for receiving message files from a messenger
                              via the global network and storing the message files in the database. and
                                      an individual     message     generator   in communication   with the
                               database and operative to access    and utilize data and files      from the
                              database to    generate an individual messageto be sent to the       recipient
                               specified by the messenger         via the global communications     network
                               according to the delivery parameters. anda message management server
                              operating system; and
                        the message management database including recipient and messenger            profile
                        databases for storing recipient and messenger profile data respectively, and       a
                        message database for storing message data files.

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              2 (cancelled).


              3 (cancelled).


              4 (cancelJed).


              5 (currently amended).        The electronic     message       management     system of daim 2
              claiml, wherein the recipient profile application includes a global network interactive
              recipjent profile input form, the recipient profile input form being accessible to a
              recipient computer via the global digital communications          netwock.


              6 (currently amended).        The electronic message management              system of claim 2
              claim 1, wherein the messenger profile application includes a global network interactive
              messenger profile input form, the messenger profile input form being accessible to a
              messenger computer via the global digital communications network.


              7 (currently amended).        The electronic         message   management     system of eta.in, 2
              claiml. where.in the message input application includes an interactive global network
              message input form, the message input form being accessible to a messenger computer
              via the global communications network.


              8 (currently amended). The electronic message management system of claim 2 plaiml,
              wherein the recipient profile application further comprises a network interface and a
              recipient profile editor for receiving recipient profile data from a recipient computer via
              the global network interface and for manipulating the recipient profile database to store
              the recipient profile data.




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          9 (currently amended). The electronic message management system of e:laim 2 claim!.
          wherein the messenger profile application further comprises a global network interlace
          and a messenger profile editor for receiving messenger profile data from a messenger
          computer via the global network interface and for manipulating the messenger profile
          database to store the messenger profile data.


          10 (currently amended). The electronic message management system of elBiH'l2 claiml.
          wherein the message input application further comprises a global network interface and
          a message data file editor for receiving a message file data from a messenger computer
          via the global network interface and for manipulating the message database to store the
          message data file.


          11 (original). A method of inputting data into the rnessage management system of claim
          1 from client computers via a global communications network, to centrally manage the
          distribution and delivery format of electronic messages from multiple messenger sources
          to multiple individual recipients, comprising the steps of:
                        providing the client computers with access to the message management
                 system via a global communications network, where the client computers are
                 messenger and recipient computers;
                       recei"ing a connectivity request from a client computer for access to the
                 message management system to input data;
                 connecting the client computer to the message management system via the global
                 communication network:
                        prompting the client computer for the data to be input by providing a data
                input form to the client computer: and
                        accepting input data from the client computer and entering the input data
                into an electronic message management database of the message management
                system.



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          12 (original). The method of claim 11; wherein the prompting step includes providing
          an input form to the client computer.


          13 (original). The method of claim 11, wherein the prompting step includes providing
          an input form to the client computer, the input form being at least one input form select.eel
          from the group consisting of a recipient profile form, a messenger profile form, and a
          message input form.


          14 (original}. The method of claim 11, wherein the accepting step includes entering the
          input data into an electronic message management database comprising a recipient profile
          database, a messenger profile database. and a message database.


          15 (cancelled).


          16 (cancelled).


          17 (currently amended). The electronic message management system of claim 2 claim 1,
          wherein the messenger profile application receives and stores messenger profile data,
          including recipient identifications and recipient profiles, which messages to deliver to the
          recipients and profiles stored.


          18 (original). The messenger profile application of claim l 7, further comprising recipient
          identification and recipient profiles for recipients who are prevented from receiving a
          message from the messenger.


          19 (currently amended). The electronic message management system of elaim 2 claiml.
          wherein the individual message generator communicates with the database to identify
          messages and messenger parameters that are compatible with a recipient profile, and to
          configure the messages for delivery to the recipient

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          20 (currently amended). The electronic message management system of claim 2 claiml.
          wherein the individual message generator generates and sends the individual message via
          a means selected from the group consisting of; electronic mail, voice telephone, facsimile
          transmission, and digital transmission.


          21 (currently amended). The electronic message management system of elaint 2 claiml,
          wherein the individual message generator generates the ind ividua.1message and sends the
          individual message via a means selected from the group consisting of an electronic means
          and a hardcopy means.


          22 (original).   The electronic message generator system of claim 21, wherein the
          individual message generator generates the individual message and sends the individual
          message via an electronic means selected from the group consisting of electronic mail,
          voice telephone, facsimile transmission, digital transmission, computer network, voice
          mail, SMS, telex, and wireless transmission.


          23 (original).   The electronic message generator system of claim 21, wherein the
          individual message generator generates the individual message and sends the individual
          message via a hardcopy means selected from the group consisting of paper media,
          magnetic media, and optical media.




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                                                         REMARKS


                         Applicant acknowledges that claims 1-23 are pending in the application, and that
              the Office currently holds claims l •23 as rejected. Applicant thanks the Examiner for his
              careful review of the specification, and the correction made to the IDS of a typographical
              error.
                         Applicant herein amends claim 1 to more clearly indicate that which he considers
              to be his invention.     Applicant amends claim 1 to include the limitations of original
              claims 2-4, 15 and 16. Therefore, the amendment of claim 1 is supported by the
              specification as originally filed and adds no new matt.er to the application.         Further,
              Applicant herein requests cancellation of claims 2-4, 15 and 16 without prejudice. Other
              claims are amended to properly correct their dependency in view of the amendment t:o
              claim 1 and the aforementioned cancellation claims.


              35 USC § 112. 2d paragraph
                         The Office holds claims 5 and 6 rejected under 35 USC §102(e) as being
              indefinite. The Office contends that in claims 5 and 6, it is uncertain whether "the global
              communications        network"   refers    to "a global     network"   or "a global    digital
              communications network" of claim 1.
                         Applicant does not concur with the uncertainty expressed by the Office.          In
              response, Applicant submits the term "a global network" is a portion of the descriptive
              part of the nominative phrase "a global network interactive recipient profile input form"
              describing the object of the phrase: "form." Whereas the nominative phrase ..the global
              communications network" clearly has the noun "network"as its object. Applicant submits
              that insofar as neither nominative phrase has the same noun as its object. they are clearly
              understandable      as being different    objects.    However, in the interest of expediting
              prosecution, Applicant herein amends claims 5 and 6 to recite the further descriptive
              adjective "digital" in conjunction with the nominative phrase "the global communications
              network."

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             35 use §102<el
                        The Office holds claims 2-23 rejected under 35 USC § 102(e) asbeing anticipated
             by Kamakura et al. (US Patent No. 6,047,310, the '310 patent) in view of Capps (US
             Patent No. 6,711,682. Applicant respectfully traverses these rejections.


                     In response, Applicant asserts that the electronic message management system of
             the present invention is not the same as the apparatus of the Kamakura •310 patent. The
             apparatus of Kamakura provides for cidistributing non-specific information from a sender
             to a receiver ... " Col. 1, lines 52-53. What this means is that the Kamakura apparatus
             does not receive messages addressed to a specific receiver. The Kamakura apparatus is
             is designed and functions as a message "matching filter" apparatus. It receives a message
             from a single sender and sends the message out to a plurality of receivers (who were non-
             specified by the sender) based on a match between a receiver's profile and the message's
             profile.
                     In contrast, in the present invention functions as a message ''sorting filter" system.
             It receives a message sent to a specific (as opposed to a non-specific) receiver, and selects
             which of that individual receiver's ..mail boxes"           to   sort the message into. The present
             system cannot relay a received message on           to   a plurality of non-specific receivers.
                     Applicant submits that the standard for finding anticipation is one of strict identity.
             In other words, to anticipate under §102, a single prior art reference must disclose all the
             elements, or disclose their equivalents functioning in the same way as the claimed
             invention (Shanklin Corp. v. Springfield Photo Mount Co., 187 USPQ 129, 133).
             Further, ..too many structural and operational differences" negate anticipation within the
             meaning of § 102 (ibid. 134}. Neither the Kamakura apparatus nor the present invention
             can do what the other does. Nor is the Kamakura '310 patent enabling of the present
             invention. Because the Kamakura apparatus will not do what the present invention does,
             it does notprlmafacie      anticipate the present electronic message management system of
             claim 1.

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          35 USC §103(e)
                   The Office holds claims 2-23 rejected under 35 USC §103(e) as being
          unpatentable over Kamakura et al. (US Pat.ent No. 6,047,310, the '310 patent) in view
          of Capps (US Patent No. 6,711.682, the 682 patent). Applicant respectfully traverses
          these rejections.


          Regarding Original Claim 2:
                   Applicant herein cancels original claim 2. Therefore, the rejections of original
          claim 2 and the claims dependent thereon are moot. However, Applicant herein amends
          original claim 1 to include the limitations of original claim 2 and ot~ers. Therefore,
          Applicant addresses the rejection of claim 2 and its dependents below regarding amended
          claim 1.


          Regarding Amended Independent Claim 1:
                   Applicant submits that regarding currently amended claim 1, the Office has failed
          to establish aprimafacie       case of obviousness.   Applicant asserts that Kamakura et al.,_
          neither by itself nor in combination with the Capps '682 patent, does not render the
          invention of instant independent claim 1 obvious for the reasons set forth below.


          Prima Facle Obviousness
                   The PTO has the burden under 35 USC §103 of establishing aprima/acie case of
          obviousness. In re Ft'ne, 837 F.2d 1071, 1074 (Fed. Cir. 1988). To establish a pn·ma
         jacie case of obviousness, thl'ee basic criteria must be met (MPEP §706.02(j)):
          (1).     There must be some suggestion or motivation in the reference itself to modify the
                   reference or combine the teachings of the references to seek the invention of the
                   instant claims; and
          (2).     There must be a reasonable expectation of successfully           accomplishing   the
                   invention of the instant claims; and

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          (3).     The prior art reference (or references when combined) must teach or suggest aJI
                   the instant claim limitations.
         Additionally, both the teaching (or suggestion) and the expectation of success must be
         found in the cited prior art, and not based on Applicant's disclosure. In re Vaeck. 947
         F.2d 488, 20 USPQ2d 1438 (Fed. Cir. 1991).


          Criterion 1; Suggestion or Motivation:
                   "THE PRIOR ART MUST SUGGEST THE DESIRABILITY                            OF THE
          CLAIMED INVENTION" (MPEP §2143.01, emphasis in original). Obviousness can
         only be established by a combination of prior art references where the teaching, or
          suggestion or motivation to make the combination is found in the references themselves.


                   Applicant submits that there is no suggestion or teaching in either of the cited
          references to provide electronic message management system having the features of a
          message "sorting filter" system, where a received message was sent to a specific (as
         opposed to a non-specific) receiver. and the system selects which of that individual
         • receiver's "mail boxes" <receiving modalities) to sort the message into. Therefore, the
         combination of the cited references fail to meet Criterion 1 to establish aprimafacie case
          of anticipation, the present rejection of claims is not proper under the MPEP.


          Criterion 2; Reasonable Expectation of Success:
                   As noted above under §102, either the Kamakura apparatus nor the present
          invention can do what the other does. More particularly, the Kamak:ura '310 patent is not
          enabling of the present invent.ion, Kamakura neither alone or in combination with Capps
          enables the receiver to designate "where, when and how" specific types of messages from
          a sender/messenger are to be sorted for delivery to the receiver/recipient. For example,
          in the present invention the recipient can designate in advance that car advertisements
         from one sender/messenger go to email address-1 anytime one arrives at the present
          message management system, that statements from the bank go to email address-2 on the




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          15th of the month, that the bill from the utility company goes to email address-3 on the
          first of the month and is copies to email address-2, etc. The teachings of Kamakura,
          neither alone or in combination with Capps, has any expectation of accomplishing this
          object of the present invention. Because the Kamakura/Capps do not enable the present
          invention. they do notprimafacie   anticipate the present electronic message management.
          Therefore, Criterion 2 is not met and the present rejection of claims is not proper under
          the MPEP examining practice.


          Criterion 3; Must Teach or Suggest AJJ the Claim Limitations:
                 lnteralia, the message management system of instant claim lrecites the limitation
          of "delivery parameters" on the profile data.        Further, instant claim 1 recites the
          additional limitation on the delivery parameters including data on "where, when and how
          specific types of messages from a messenger are delivered to a recipient."            These
          limitations are not taught or suggested in either the Kamakura or the Capps references.
                 Another limitation of instant claim 1 is an "individual message generator ... to
          generate an individual message to be sent ... to a recipient specified by a messenger."
          Emphasis added, To the contrary, in a combination of Kamakura and Capps (even if
          successfully combined) the sender transmits its message to the apparatus: it is the
          apparatus that designates the receiver of the message.
                 Therefore, the cited references, neither alone nor in combination teach or suggest
          all the limitations of instant claim 1, and criterion 3 is not met and the present rejection
          of claims again is not proper under the MPEP.



         Regarding Claims : Rejection Moot
                 In view the above amendment and remarks regarding independent claim 1,
          Applicant submits that the current rejection of dependent claims 5-10, 17-23 and claims
          11-14 under §103(e) is now mooL



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                      Applicant believes that the above amendments and remarks are fully responsive
          to the Office Action        mailed 10 Febro.ary 2005.     Applicant respectfully requests
          reconsideration and removal of all objections and rejections of claims, and that, in view
          of the above amendments and remarks, the application is now in condition for allowance.
          Applicant respectfully requests the Examiner to contact the undersigned to timely resolve
          any minor issues that may remain in the application. Alternatively, Applicant invites the
          Examiner to suggest alternative claim language for Applicant's consideration, in order
          to facilitate timely prosecution of this application.




                                                       Respectfully submitted.



                                                         erman D. Pernia, Patent Agent
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